                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


ETHAN RYDER et al.,                                 Case No.1:19-CV-638
on behalf of themselves and all others
similarly situated,                                 Judge Timothy S. Black
                                Plaintiffs,
v.                                                  Magistrate Judge Karen L. Litkovitz

WELLS FARGO BANK, N.A.

                                Defendant.



    PLAINTIFFS’ UNOPPOSED MOTION FOR ATTORNEYS’ FEES, LITIGATION
         EXPENSES, AND CLASS REPRESENTATIVE SERVICE AWARDS

       Pursuant to the Court’s August 17, 2021 Order: (1) Granting Unopposed Motion for

Preliminary Approval of Class Action Settlement); and (2) Scheduling Fairness Hearing (Doc.

50) and pursuant to Rules 23(h) and 54(d)(2) of the Federal Rules of Civil Procedure, Class

Counsel for Class Representatives Ethan Ryder, Jose Aguilar, James Chambers, Kimberly

Duncan, Elizabeth Manley, Maureen Mann, and Viola Thomas respectfully move this Court for

(a) an award of attorneys’ fees in the amount of $2,719,093.00, which is 22.7% of the

12,000,000 settlement (b) reimbursement of $43,726.97 in litigation expenses incurred by Class

Counsel in this litigation, and (3) $17,000 in Class Representative Service Awards for the time,

effort, and risk associated with acting as class representatives. If awarded, these amounts will be

paid by defendant Wells Fargo separate from and in addition to the $9,098,907 in payments the

bank will make to Class Members.




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       The grounds for this motion are set forth in the accompanying Memorandum in Support.

A proposed form of Order is also attached.

                               MEMORANDUM IN SUPPORT

                    INTRODUCTION & PRELIMINARY STATEMENT

       The proposed $12 million settlement of this Action involving Wells Fargo’s erroneous

denial of trial loan modifications to over 1,800 borrowers who did not lose their homes to Wells

Fargo in foreclosure is comprised of roughly $9,098,907.00 in direct non-reversionary cash

payments to the Class, $2,719,093.00 in attorneys’ fees, $43,726.97 in litigation expenses,

$17,000.00 in Service Awards, and settlement administration costs and expenses not to exceed

$100,000.00. Class Counsel fully support the settlement and believe it is an excellent outcome

for class members than the alternative of litigating this Action for several years with the risk of

recovering nothing. The Settlement was achieved only after the factual record surrounding the

error was fully developed in a related case and following two lengthy, hard-fought mediation

sessions with Retired United States Magistrate Judge Morton Denlow.

       Class Counsel respectfully submit that this result was achieved through their skill,

tenacity, and effective advocacy. As detailed below and in the attached Declarations of Class

Counsel (“Declarations”), Class Counsel dedicated substantial resources prosecuting this

litigation in both this Court and others, collectively in excess of 1,000 hours, with substantial

additional hours anticipated in the future for settlement approval and administration. Class

Counsel’s efforts included, among other things: drafting multiple detailed complaints; briefing

motions to dismiss; successfully litigating two related discovery-only actions; analyzing the




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strengths and weaknesses of the case; and, participating in two day-long mediation sessions with

Judge Denlow. Doc. 55-2, PageID #1195-1196, Dann Dec, at ¶ 8.1

          The Settlement was achieved despite considerable risks and challenges confronting this

Action. As detailed in the Declarations, Plaintiffs faced substantial legal hurdles in maintaining

their claims. Wells Fargo vigorously contested liability on all claims. Among other contentions,

Wells Fargo argued that purported violations of Freddie Mac, Fannie Mae, or FHA requirements

failed to provide a cause of action. Wells Fargo also asserted that the statute of limitations for

several causes of action had passed, and that equitable tolling did not apply. In short, Wells Fargo

pressed substantial defenses to liability – and indeed succeeded on motions to dismiss in cases

filed by some Named Plaintiffs here. Settlement did not occur until plaintiffs filed several

amended complaints in multiple cases, multiple motions to dismiss were fully briefed, and a

motion to stay proceedings pending a decision from the Judicial Panel on Multidistrict Litigation

was filed and opposed.2

          As compensation for their successful efforts on behalf of the Class, Class Counsel request

a fee award in the amount of $2,719,093.00, which is approximately 22.7% of the $12,000,000

overall settlement. Importantly, the attorneys’ fees were negotiated after the $9,098,907 fund for

Class Member payments was agreed upon, and will be paid separately by Wells Fargo. Thus, the


1
  The Declaration of Marc Dann in support of Plaintiffs’ Motion for Final Approval and this Fee
Application (“Dann Declaration” or “Dann Dec.”) (Doc. 55-2) filed contemporaneously herewith contains
a detailed description of, among other things: the history of the Action; the nature of the claims asserted;
the negotiations leading to the Settlement; the value of the Settlement to the Class compared to the risks
and uncertainties of continued litigation; the terms of the Plan of Allocation for the Settlement proceeds;
and a description of the services Class Counsel provided for the benefit of the Class. For the sake of
brevity, Plaintiffs respectfully refer the Court to the Dann Declaration for a more fulsome explanation of
these facts.

2
    See Dann Dec., ¶ 8, Doc. 55-2, PageID # 1195-1196.


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requested attorneys’ fee award will not in any way reduce the amount of payments made

available to Class Members. Dann Dec., at ¶ 6; Doc. 55-2, PageID # 1195).

       The requested fee represents 22.7% of the $12,000,000 settlement which is reasonable

and, in fact, on the low end of the 20% to 30% range commonly awarded in comparable

settlements, particularly for a case providing direct non-reversionary payments to class members

and involving this level of complexity and risk. Using the lodestar method as a cross-check also

reveals that a 2.35 multiplier is reasonable and below what is often awarded in complex class

actions with substantial contingency risks such as this one. In addition, the Settlement has been

exceedingly well-received by the Class: there is only 1 remaining objection and 10 class

members or 0.55% of the class opted out.

       Class Counsel further seek the reimbursement of reasonable litigation expenses totaling

roughly $43,726.97 and approval of Class Representative Service Awards totaling $17,000

which are also reasonable for this case.3

                                   FACTUAL BACKGROUND

       In the interest of brevity, and to avoid unnecessary duplication, Class Counsel will not

rehash the factual background of this Action. Rather, Class Counsel direct the Court to the

Motion for Preliminary Approval of Class Action Settlement, the accompanying Dann

Declaration, and the accompanying Motion for Final Approval of Class Action Settlement,




3
 The amounts of these requests were specifically included in the Class Notice and were published on the
Settlement Website, https://www.ryderwfsettlement.com, at pages 1, 5, 6-7 (Last visited on Nov. 29,
2021); see also Doc. 47-1, at 961, 965, and 967.


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which provide a detailed description of the factual and procedural background of this Action and

related litigation, as well as the events that led to the Settlement.4

                                          LEGAL ARGUMENT

      I.      CLASS COUNSEL ARE ENTITLED         TO AN    AWARD   OF   ATTORNEYS’ FEES CALCULATED   AS A
              PERCENTAGE OF THE FUND.

           A. Class Counsel’s Request Based on a Percentage of the Fund Is Fair and
              Reasonable.

           The class settlement here presents a sum certain for the benefit of class members. “The

source of the fee award that is requested here closely resembles the award of fees in common

fund cases.” In re Teletronics Pacing Sys., Inc., 137 F. Supp. 2d 1029, 1040-41 (S.D. Ohio 2001),

decision clarified, 148 F. Supp. 2d 936 (S.D. Ohio 2001). The Supreme Court has long

recognized that “a litigant or lawyer who recovers a common fund for the benefit of persons

other than himself or his client is entitled to a reasonable attorney’s fee from the fund as a

whole,” the “common fund.” Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980).

           “When awarding attorney’s fees in a class action, a court must make sure that counsel is

fairly compensated for the amount of work done as well as for the results achieved.” Rawlings v.

Prudential Bache Props., Inc., 9 F.3d 513, 516 (6th Cir. 1993). “In general, there are two

methods for calculating attorney’s fees: the lodestar and the percentage-of-the-fund.” Van Horn v.

Nationwide Prop. & Cas. Ins. Co., 436 F. App’x 496, 498 (6th Cir. 2011). The percentage of the

fund method is preferred in cases like this one that closely resemble a common fund case. In re

Teletronics, 137 F. Supp. 2d at 1040-41; see also Rawlings, 9 F.3d at 515 (“We are aware of the

recent trend towards adoption of a percentage of the fund method in such cases.”). It has been


4
    See, e.g., Dann Dec., at ¶¶ 4-8; Doc. 55-2, PageID # 1195-1195).


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observed that “the percentage of the fund method more accurately reflects the results achieved.”

Id. at 516 (internal citations omitted). “‘[U]nder the percentage of the fund method, the court

simply determines a percentage of the settlement to award the class counsel.’” Lonardo v.

Travelers Indem. Co., 706 F. Supp. 2d 766, 789 (N.D. Ohio 2010) (quoting In re Sulzer Hip

Prosthesis & Knee Prosthesis Liab. Litig., 268 F. Supp. 2d 907, 922 (N.D. Ohio 2003)).

       As described below, Class Counsel’s fee request in this case is reasonable under each of

the Ramey factors applied by courts within the Sixth Circuit and should be approved.

       B.      The Requested Attorneys’ Fees Are Reasonable Under the Percentage of the
               Fund Method.

       Class Counsel’s request for an award of 22.7% of the common fund is below the

percentages most often awarded in class actions in the Sixth Circuit.

       In this Circuit, “[a]ttorneys fees awards typically range from 20 to 50 percent of the

common fund.” In re Broadwing, Inc. ERISA Litig., 252 F.R.D. 369, 280-81 (S.D. Ohio 2006)

(collecting cases); In re Cincinnati Gas & Elec. Co. Sec. Litig., 643 F. Supp. 148, 150 (S.D. Ohio

1986); see also Lonardo, 706 F. Supp. 2d at 803 (26.4%); Kritzer v. Safelite Solutions, LLC, No.

2:10–cv–0729, 2012 WL 1945144, at *9-10 (S.D. Ohio May 30, 2012) (52%); Gascho v. Global

Fitness Holdings, LLC, No. 2:11-CV-436, 2014 WL 1350509, at *37 (S.D. Ohio Apr. 4, 2014)

(21%); Mullins v. Southern Ohio Pizza, Inc., No. 1:17-cv-426, 2019 WL 2755711, at *4 (S.D.

Ohio Jan. 18, 2019) (33.33%); Dillow v. Home Care Network, Inc., No. 1:16-cv-612, 2018 WL

4776977, at *5 (S.D. Ohio Oct. 3, 2018) (noting that “whether 24.9% or 33%, this Court finds

Plaintiff’s request is reasonable and well within the ranges of fees typically approved by courts in

the Sixth Circuit.”); In re Countrywide Fin. Corp. Customer Data Sec. Breach Litig., No.

3:08-MD-01998, 2010 WL 3341200, at *1 (W.D. Ky. Aug. 23, 2010) (approving attorney fees of



                                                 6
more than 50% of settlement, where the settlement fund could potentially increase and bring

attorney fees down to 20%); In re Se. Milk Antitrust Litig., No. 2:07-CV 208, 2013 WL 2155387,

at *2 (E.D. Tenn. May 17, 2013) (approving 1/3 for attorney fees where settlements totaled more

than $300 million); Godec v. Bayer Corp., No. 1:10-CV-224, 2013 WL 1089549 (N.D. Ohio

Mar. 14, 2013) (approving 25% attorney fees); Clevenger v. Dillards, Inc., No. C–1–02–558,

2007 WL 764291, at *2 (S.D. Ohio Mar. 9, 2007) (approving fee award of 29% of gross

settlement fund in ERISA case).

       Here, Class Counsel are applying for a fee award of $2,719,093.00, or 22.7% of the total

Settlement amount of $12,000,000.00, which is within “the range of reasonableness” for fee

awards and at the low end of this Circuit’s general spectrum for reasonableness. Taking into

account the inherent complexity of this class action, the several years of work performed, and the

pending motion to dismiss, Class Counsel’s application for 22.7% attorneys’ fees is justified and

reasonable under the percentage of the fund method, especially because the attorneys’ fees will

not reduce the over $9 million available for direct distribution to Class Members.

       C.      The Six Ramey Factors Confirm that Class Counsel’s Attorney Fee Request is
               Fair and Reasonable.

       When reviewing the reasonableness of an attorney fee award requested in a class action,

courts consider factors such as (1) the value of the benefit rendered to the class; (2) whether the

services were undertaken on a contingent fee basis; (3) the value of the services rendered by the

attorneys, if measured on an hourly basis; (4) society’s stake in rewarding attorneys who produce

such benefits in order to maintain an incentive to others; (5) the complexity of the litigation; and

(6) the professional skill and standing of counsel involved on both sides. Moulton v. U.S. Steel

Corp., 581 F.3d 344, 352 (6th Cir. 2009); Bowling v. Pfizer, Inc., 102 F.3d 777, 780 (6th Cir.



                                                 7
1996).5

            Analyzing the six Ramey factors set out above makes it clear that the attorneys’ fees

requested are reasonable.6 District courts in the Sixth Circuit “generally consider the most

important factors to be the value of the benefit rendered and the value of the services on an

hourly basis.”7

                   1.      The value of the benefit rendered to the Class supports the
                           requested fee.

           This class action was filed on behalf of residential mortgagees who were entitled to more

favorable loan modifications based on a formula Wells Fargo was required to use. However,

Wells Fargo erroneously denied Class Members the trial loan modifications because a software

error caused them to misapply the formula. Accordingly, some Plaintiffs and Class Members

paid Wells Fargo substantially more money under the mortgage agreement compared to what

they would have paid under the more favorable loan terms if they had been given the loan

modification that Wells Fargo should have offered to them. Others were forced into short sales or

foreclosure conducted by successor mortgage loan servicers. The benefit rendered to Class

Members of over $9 million of direct payments with attorneys’ fees and expenses, settlement




5
  More generally, Prof. Cond. R. 1.5 lists the following factors to be considered in determining the
reasonableness of a fee: (1) the time and labor required, the novelty and difficulty of the questions
involved, and the skill requisite to perform the legal service properly; (2) the likelihood, if apparent to the
client, that the acceptance of the particular employment will preclude other employment by the lawyer;
(3) the fee customarily charged in the locality for similar legal services; (4) the amount involved and the
results obtained; (5) the time limitations imposed by the client or by the circumstances; (6) the nature and
length of the professional relationship with the client; (7) the experience, reputation, and ability of the
lawyer or lawyers performing the services; and (8) whether the fee is fixed or contingent.

6
    In re Countrywide, 2010 WL 3341200 at *1.

7
    Id. (citing In re Sulzer, 268 F. Supp. 2d at 930).

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administration fees and expenses, and Class Representative Service Awards being paid separate

is a tremendous recovery especially considering that Wells Fargo previously submitted payments

to Class Members relating to the loan modification denials at issue in this case and the legal

hurdles Plaintiffs faced (i.e. statute of limitations, proving damages, gaining class certification,

potential appeals of decision favorable to Plaintiffs, etc.).

                   2.     The value of the services on an hourly basis supports the
                          requested fee.

           As this Court and others within this Circuit have noted, where the percentage approach is

reasonable, a lodestar cross-check may be unnecessary. See, e.g., Rikos v. Procter & Gamble Co.,

2018 WL 2009681, at *10 (S.D. Ohio Apr. 30, 2018) (Black, J.); Blasi v. United States Debt

Servs., LLC, 2019 WL 1614822, at *6 (N.D. Ohio Mar. 26, 2019) (granting fees based on

percentage without cross-check); Dick v. Sprint Commc’ns Co. L.P., 257 F.R.D. 282, 300 (W.D.

Ky. 2014) (same). A lodestar cross-check, while unnecessary, also supports the requested fee. In

cases of this nature, fees representing multiples above the lodestar are regularly awarded to

reflect the contingency fee risk and other relevant factors.

           Here, Class Counsel spent a total of 2,007.25 hours of attorney and other professional

support time prosecuting this Action.8 This yields a lodestar for Class Counsel equal to

approximately $1,156,209.42.9 The requested 22.7% fee, which amounts to $2,719,093.00

represents a multiplier of 2.35.10 Multipliers greater than 2.35 are often used in the Sixth Circuit

8
 See Dann Dec., at ¶ 14, Doc. 55-2, PageID # 1197; see also Exhibits 1, 2, 3, and 4, attached hereto,
which are Declarations from Michael Schrag from Gibbs Law; Terence R. Coates of Markovits, Stock &
DeMarco, LLC; Gretchen Capio of Keller Rohrback, LLP; and Richard Paul III of Paul LLP, each
verifying the amount of hours their respective firms have committed to prosecuting this Action.

9
    See Dann Dec., at ¶ 14; Exhibit A to the Dann Declaration..

10
     See id.; Exhibit B to the Dann Declaration.

                                                      9
for similar complex class actions involving significant contingency risks.11 Thus, if the Court

wishes to employ a lodestar crosscheck, the 2.35 multiplier is consistent with the law in this

Circuit and confirms the reasonableness of the award. This lodestar does not include the

numerous hours that some Class Counsel spent litigating Hernandez (on the same legal and

factual issues present here) through class certification and all the way to summary judgment. The

facts and evidence they developed in Hernandez were used to draft a detailed complaint to

support the claims asserted in the present case.

        Further, Class Counsel will continue to spend substantial time working on this case in

preparing for the January Fairness Hearing and working with JND to administer the Settlement.

Class Counsel expect to spend a substantial amount of time working with JND and Class

Members to answer Class Members’ questions about the Settlement and in ensuring that Class

Members’ settlement checks are received and cashed. See Dann Dec., at ¶ 15, Doc. 55-2, Page

ID # 1198) (noting that Class Counsel reasonably anticipate spending an additional $300,000.00

in lodestar from now until the end of this Action). This additional time and effort was not

considered when calculating the lodestar total and resulting multiplier listed above, which further

supports the reasonableness of Class Counsel’s fee request.




11
   See In re Cardinal Health, 528 F. Supp. 2d 752, 767 (S.D. Ohio 2007) (lodestar multiplier of six);
Merkner v. AK Steel, No. 1:09–CV–423–TSB (S.D. Ohio, Order filed Jan. 10, 2011, at p. 6) (awarding
10% of the cash portion of the settlement representing a lodestar multiplier of 5.3); In re Rite Aid Corp.
Sec. Litig., 146 F. Supp. 2d 706, 736 n.44 (E.D. Pa. 2001) (finding fee award equivalent to 4.5 to 8.5
lodestar multiplier “unquestionably reasonable”); In re Beverly Hills Fire Litig., 639 F. Supp. 915, 924
(E.D. Ky. 1986) (finding a multiplier of 5 was appropriate); see also In re Sulzer, 268 F. Supp. 2d at 939
n.45 (noting that a review of 1,120 class action cases from 1973 through 2003 had effective multipliers
averaging: “(a) 3.89 across all 1,120 cases, (b) 4.50 across the 64 cases where the recovery exceeded $100
million, and (c) 2.97 across the ten mass tort cases.”).


                                                   10
                  3.      The risk of no compensation supports the requested fee.

          Class Counsel prosecuted this case entirely on a contingent fee basis. See Dann Dec., at ¶

14. Accordingly, Class Counsel took the considerable risk that they would never be compensated

for either the time expended or out-of-pocket expenses incurred in litigating this Action.

“[C]ontingency fee arrangements indicate that there is a certain degree of risk in obtaining a

recovery.” In re Telectronics Pacing Sys., Inc., 137 F. Supp. 2d at 1043. Plaintiffs faced real

legal risks through the continued prosecution of this case (i.e. statute of limitations, proving

damages, gaining class certification, potential appeals of decisions favorable to Plaintiffs, etc.).

Dann Dec., at ¶ 4, Doc. 55-2, PageID # 1194). Further, Class Counsel and Plaintiffs understood

the uncertainty of cases involving various causes of action for plaintiffs from different states and

that they pose substantial risk to Plaintiffs’ claims. In re Cardizem CD Antitrust Litig., 218

F.R.D. at 523 (“Experience proves that, no matter how confident trial counsel may be, they

cannot predict with 100% accuracy a jury’s favorable verdict”).

          Accordingly, this factor supports awarding the requested 22.7% fee.12

                  4.      Society’s stake in rewarding attorneys who produce such
                          benefits in order to maintain an incentive to others supports
                          the requested fee.

          In evaluating the reasonableness of a fee request, the Court considers society’s stake in

rewarding attorneys who produce a common benefit for class members in order to maintain an

incentive to others: “[e]ncouraging qualified counsel to bring inherently difficult and risky but

beneficial class actions like this case benefits society.” In re Cardizem CD Antitrust Litig., 218

F.R.D. at 534.



12
     See In re Countrywide, 2010 WL 3341200 at *11 (contingent fee supports an award of attorneys’ fees).

                                                     11
           As the Court in In re Telectronics stated:

           [I]n litigating this case, Class and Plaintiff’s Counsel expended significant resources of
           both time and monies … We believe that, without such a class action, small individual
           claimants would lack the resources to litigate a case of this magnitude. Attorneys who
           take on class action matters serve a benefit to society and the judicial process by enabling
           such small claimants to pool their claims and resources.

           137 F. Supp. 2d at 1042-43.

           Here, as demonstrated above, Class Counsel’s efforts in pursuing this Action provided

and continue to provide a substantial benefit to society. Holding a national bank responsible for

failing to provide required loan modifications to its customers benefits the greater society as a

whole. Further, Class Counsel’s efforts in obtaining a settlement that included over $9 million in

direct payments to roughly 1,830 class members provides a tremendous benefit to society by

efficiently achieving this result through one case instead of many individual actions. This case

was made even more difficult because of the fact that Wells Fargo’s loan modification misdeed

took place over 10 years ago, thereby raising statute of limitations issues for Plaintiffs’ claims.

Accordingly, this factor supports an award of attorneys’ fees of $2,719,093.00.

                   5.      The complexity of the litigation supports the requested fee.

           Courts in this Circuit also consider the complexity of the litigation in determining the

reasonableness of an attorneys’ fee award. While “[m]ost class actions are inherently complex,”13

this Action presented a number of complicated legal and factual issues concerning: (1) various

claims from plaintiffs from different states; (2) Wells Fargo’s previous cash payment to Class

Members for the loan modification error that is the subject of this Action; (3) Wells Fargo’s

failure to disclose that more than 1,000 class members were not identified prior to the first



13
     In re Telectronics, 137 F. Supp. 2d at 1013.

                                                    12
mediation in this case; and (4) Wells Fargo’s resistance to efforts by Class Counsel on behalf of

individual class members to seek discovery in State Court prior to filing this matter and

aggressive opposition to this and other cases involving class embers. Dann Dec. at ¶ 4, Doc.

55-2, PageID # 1194.

          This hard-fought settlement followed hard-fought litigation in multiple lawsuits in

multiple jurisdictions involved two full-day mediations with Judge Denlow before the parties

reached a final settlement in principle. Dann Dec. at ¶ 5. This case efficiently resolved several

pending cases in multiple jurisdictions, achieved additional substantial payments to Class

Members even after Wells Fargo had made earlier direct payments to members of the Class,

involved Wells Fargo adding hundreds of additional Class Members to the Class definition after

the first mediation, involved four different categories of Class Members with each category

being allocated different payment amounts, and was only resolved after two day-long meditation

sessions with a seasoned mediator. Accordingly, this factor supports an award of attorneys’ fees.

                 6.      The professional skill and standing of counsel involved on both
                         sides supports the requested fee.

          Finally, courts in this Circuit evaluate the professional skill and standing of counsel in

determining the reasonableness of a fee request. Here, the skill and standing of counsel for all

parties was of the highest caliber.

          Class Counsel include the law firms of (1) Markovits, Stock & De Marco, LLC; (2)

DannLaw; (3) Paul LLP; (4) Keller Rohrback LLP; and (5) Gibbs Law Group. These law firms

have considerable experience in complex litigation, including class actions against financial

institutions and have recovered hundreds of millions of dollars for consumers in such cases.14


14
     Dann Dec., at ¶ 1 and Exhibit B, Doc. 55-2, PageID # 1193, 1220; Resumes for Gibbs Law Group;

                                                  13
          The quality of opposing counsel is also important in evaluating the quality of services

rendered by Class Counsel.15 Defendant has been represented throughout this litigation by

Winston and Strawn, which has hundreds of attorneys in over 15 offices all over the world.16

Winston is a first-tier law firm with experience in defending against class action litigation and

representing mortgage servicers in individual litigation. Additionally, Wells Fargo had in-house

counsel lending their internal expertise and knowledge.

II.       CLASS COUNSEL SHOULD BE REIMBURSED              FOR   REASONABLY-INCURRED OUT-OF-POCKET
          LITIGATION EXPENSES.

          Class Counsel are also requesting reimbursement of the out-of-pocket expenses

necessarily incurred and advanced by Class Counsel in the prosecution of the litigation in the

amount of $43,726.97. Exhibit C to the Dann Declaration details the total expenses Class

Counsel incurred and underwrote during the prosecution of this Action, all of which were at risk

in this litigation. These expenses are a necessary part of litigation of this magnitude and scale

and were essential to enable Plaintiffs to achieve the results now before this Court. Similar to the

common fund doctrine, “class counsel is entitled to reimbursement of all reasonable

out-of-pocket litigation expenses and costs in the prosecution of claims and in obtaining

settlement, including expenses incurred in connection with document productions, consulting




Markovits, Stock & De Marco, LLC; Keller Rohrback LLP and Paul LLP are attached as Exhibit B to
each firm’s declaration: Schrag Declaration (attached as Exhibit 1), Coates Declaration (attached as
Exhibit 2); Cappio Declaration (attached as Exhibit 3); Paul Declaration (attached as Exhibit 4).

15
   See In re Delphi Corp. Sec. Deriv. & ERISA Litig., 248 F.R.D. 483, 504 (E.D. Mich. 2008) (“The ability
of Co-Lead Counsel to negotiate a favorable settlement in the face of formidable legal opposition further
evidences the reasonableness of the fee award requested.”). Accordingly, this factor supports an award of
attorneys’ fees.

16
     https://www.winston.com/en/where-we-are/index.html (last visited Jan. 3, 2021).

                                                     14
with experts and consultants, travel and other litigation-related expenses.” In re Cardizem CD

Antitrust Litig., 218 F.R.D. at 535.

           Class Counsel’s expenses in this case are reasonable. There are three major categories of

expenses: mediation, expenses related to the litigation of individual cases on behalf of class

members and named plaintiffs, and travel for mediation.

           Included in the amount of expenses is $24,343.35 Class Counsel paid to the mediator,

Judge Denlow.17

           JND’s additional expenses and fees in this case will be submitted for the Court’s review

during and after the administration of the Settlement.18

           From the beginning of the case, Class Counsel recognized that they might not recover

any of their expenses, and, at the very least, would not recover anything until the Action was

successfully resolved.19 Class Counsel also understood that, even assuming that the case was

ultimately successful, an award of expenses would not compensate them for the lost use of the

funds advanced to prosecute this Action.20 Thus, Class Counsel were motivated to, and did, take

significant steps to minimize expenses whenever practicable without jeopardizing the vigorous

and efficient prosecution of the Action.21 Class Counsel carefully reviewed all expenses




17
     Dann Dec., at Exhibit C, Doc. 55-2, PageID # 1223.
18
     Id. at ¶ 13; Doc. 55-2, PageID # 1197.

19
     Id. at ¶ 14.

20
     Id.

21
     Id.


                                                    15
submitted to ensure that they accurately reflected costs necessarily incurred in obtaining the

Settlement.22

           As the Notice indicates, approval of the Settlement and Plan of Allocation is separate

from the approval of Class Counsel’s application for an award of fees and expenses. Any

determination with respect to Class Counsel’s application for an award of fees and expenses will

not affect the Settlement, if approved.

III.       THE COURT SHOULD APPROVE SERVICE AWARDS FOR THE CLASS REPRESENTATIVES

           Class Counsel are also requesting Service Awards totaling $17,000 for the Class

Representatives ($5,000.00 for Ethan Ryder, $2,000.00 for Jose Aguilar, $2,000.00 for James

Chambers, $2,000.00 for Kimberly Duncan, $2,000.00 for Elizabeth Manley, $2,000.00 for

Maureen Mann, and $2,000.00 for Viola Thomas.)23 Mr. Ryder has been a named Plaintiff in this

case since its inception and is the only class representative to attend the first all-day mediation

session with Judge Denlow, which justifies a Service Award to him that is slightly greater than

his fellow Class Representatives. Ryder Dec., at ¶ 2; Doc. 55-4, PageID # 1256. Service awards

are payments that are intended to cover the time and money that class representatives spend

fulfilling their responsibilities. Courts approving service awards “have stressed that incentive

awards are efficacious ways of encouraging members of a class to become class representatives

and rewarding individual efforts taken on behalf of the class.” Hadix v. Johnson, 322 F.3d 895,

897 (6th Cir. 2003). “Yet applications for incentive awards are scrutinized carefully by courts



22
     Id. at ¶ 16.

23
  Dann Dec. at ¶ 9 (Doc. 55-2, PageID # 1196); see also Declarations in support of this Settlement for
each of the Class Representatives are attached as Exhibits 4-10 to the Motion for Final Approval (Docs.
55-3 through 55-10).


                                                  16
who sensibly fear that incentive awards may lead named plaintiffs to expect a bounty for

bringing suit or to compromise the interest of the class for personal gain.” Id. This is far from

such a situation.

          The Class Representatives devoted their time to this cause without any expectation of a

service award. Their initiative, time, and effort were essential to the prosecution of the case and

were central to the remarkable results achieved. The Class Representatives also participated in

settlement talks and, in one case, attended mediation sessions.24 The Class Representatives had

stayed apprised about the case and willingly gave of their time.25

                                         CONCLUSION

          For the foregoing reasons, Class Counsel respectfully request this Court to grant their

motion for an award of attorney’s fees of $2,917,093.00; for reimbursement of Class Counsel’s

out-of-pocket litigation costs and expenses incurred before preliminary approval totaling

$43,726.97; and for service awards totaling $17,000.00 for the Class Representatives.

                                              Respectfully submitted,

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  See Aguilar Dec., at ¶ 2 (Doc. 55-9, PageID # 1271); Chambers Dec., at ¶ 2 (Doc. 55-5, PageID #
1259); Duncan Dec., at ¶ 2 (Doc. 55-8, PageID # 1268); Manley Dec., at ¶ 2 (Doc. 55-10, PageID #
1274); Mann Dec., at ¶ 2 (Doc. 55-6, PageID # 1262); Ryder Dec., ¶¶ 2-3 (Doc. 55-4, PageID # 1256);
and Thomas Dec., at ¶ 2 (Doc. 55-7, PageID # 1265).

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     Dann Dec. at ¶ 9.

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                                           Counsel for Plaintiffs and the Putative Class


                               CERTIFICATE OF SERVICE

        I hereby certify that on January 11, 2022, a true and accurate copy of the foregoing
Plaintiffs’ Unopposed Motion for Attorneys’ Fees, Litigation Expenses, and Class Representative
Service Awards was filed electronically and served upon all parties via the Court’s CM/ECF
system.

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